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UNITED STATES DISTRICT COURT
SOUTI-IERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA
               v.
 ROBERT ME ENDEZ, NADINE MENENDEZ,                                  23-Cr-490 (SHS)
 WAEL HANA, and FRED DAIBES,
                                                                    OPINION &
                              Defendants.                           ORDER



SIDNEY H. STEIN, U.S. District Judge.
     The Government has moved to preclude 1) evidence or argument by defendants
regarding the credibility of a particular Confidential Human Source ("CHS") and 2) any
evidence or argument that, unbeknownst to those�teracted with, that individual
was a CHS. The CHS in question made audio recordin s of the CHS's meetings with
defendant Wael Hana and anticipated witness                   who was one of Hana's
business associates and who the Government has represented it intends to call during
its case-in-chief at trial.
     The Government has represented that it does not intend to call the CHS as a witness
at trial, nor offer any statements of the CHS for the truth of the matter asserted, nor
offer the recordings made by the CHS into evidence, nor ask�bout the CHS on
direct examination. (Gov't MIL at 2.) Since the Government has represented that the
CHS will not be a witness at trial, and that the CHS's out-of-court statements will not be
offered by the Government for their truth, the CHS's credibility is not at issue, and
impeachment evidence regarding the CHS is not admissible. See, e.g., United States v.
Paulino, 445 F.3d 211, 217 (2d Cir. 2006); United States v. Wagner, 103 F. Appx. 422,429
(2d Cir. 2004), cert. granted and judgment vacated on other grounds, 544 U.S. 958 (2005);
United States v. McGowan, 58 F.3d 8, 15-16 (2d Cir. 1995); United States v. Percoco, No. 16-
cr-776, 2018 WL 9539131, at *1 (S.D.N.Y. June 14, 2018); see also Fed. R. Evid. 806.
    Since the CHS will not be a government witness and aut-of-court statements
will not be offered for their truth, the CHS's credibility is not at issue. There is therefore
no obligation for the Government to provide Menendez with impeachment information
pursuant to Giglio v. United States, 405 U.S. 150 (1972). Although the Government is
required to provide defendants with Giglio disclosure for its testifying witnesses and
hearsay dedarants, see United States v. Jackson, 345 F.3d 59, 71 (2d Cir. 2003), such
disclosure is not required for individuals who are neither testifying witnesses nor
hearsay declarants. See, e.g., United States v. Whitehead, No. 22-cr-692, ECF No. 58, at 5
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